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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                              §
In re                                                         §        Chapter 11
                                                              §
NPC INTERNATIONAL, INC.,                                      §        Case No. 20–33353 (DRJ)
et al.,                                                       §
                    Debtors.1                                 §        (Jointly Administered)
                                                              §        Re: Docket Nos. 1477, 1528

              NOTICE OF (I) ENTRY OF ORDER CONFIRMING JOINT
       CHAPTER 11 PLAN OF NPC INTERNATIONAL INC. AND ITS AFFILIATED
      DEBTORS, (II) OCCURRENCE OF EFFECTIVE DATE, (III) ADMINISTRATIVE
     EXPENSE CLAIM BAR DATE, AND (IV) DRIVER CLAIMANT ADMIN BAR DATE

               PLEASE TAKE NOTICE that, on January 29, 2021, the Honorable David R.
Jones, United States Bankruptcy Judge for the United States Bankruptcy Court for the Southern
District of Texas (the “Bankruptcy Court”), signed the Findings of Fact, Conclusions of Law,
and Order Confirming Second Amended Joint Chapter 11 Plan of NPC International, Inc. and its
Affiliated Debtors [Docket No. 1528] (the “Confirmation Order”) confirming the Second
Amended Joint Chapter 11 Plan of NPC International, Inc. and its Affiliated Debtors [Docket No.
1477] (as supplemented and amended, the “Plan”).2

             PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan
occurred on March 31, 2021. As of the Effective Date, the Plan Injunction is now in place.

               PLEASE TAKE FURTHER NOTICE that copies of the Plan may be obtained
free of charge by visiting the website maintained by Epiq Corporate Restructuring, LLC at
https://dm.epiq11.com/case/npc/info. Parties may also obtain any documents filed in the Chapter
11 Cases for a fee via PACER at https://www.pacer.gov/. Please note that a PACER password
and login are required to access documents via PACER.

                PLEASE TAKE FURTHER NOTICE that, unless otherwise provided by the
Plan, the Confirmation Order, any other applicable order of the Bankruptcy Court, or agreed to by
the holder of an Allowed Administrative Expense Claim and the Debtors or Liquidating Trust, as
applicable, all requests for payment of Administrative Expense Claims must be filed with the
Bankruptcy Court no later than May 17, 2021 (the “Administrative Expense Claims Bar Date”).


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are NPC International, Inc. (7298); NPC Restaurant Holdings I LLC (0595); NPC Restaurant Holdings II
    LLC (0595); NPC Holdings, Inc. (6451); NPC International Holdings, LLC; (8234); NPC Restaurant Holdings,
    LLC (9045); NPC Operating Company B, Inc. (6498); and NPC Quality Burgers, Inc. (6457). The Debtors’
    corporate headquarters and service address is 4200 W. 115th Street, Suite 200, Leawood, KS 66211.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Plan.
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          FOR THE AVOIDANCE OF DOUBT, ADMINISTRATIVE EXPENSE
CLAIMS INCLUDE ALL PERSONAL INJURY TORT, WRONGFUL DEATH, AND/OR
RELATED REAL PROPERTY CLAIMS INCURRED ON OR AFTER THE PETITION
DATE AND THROUGH THE EFFECTIVE DATE.

               Notwithstanding the foregoing, holders of Administrative Expense Claims that
arose in the ordinary course of business during the Chapter 11 Cases shall not be required to file
any request for payment of such Administrative Expense Claims, and holders of Fee Claims must
comply with Section 2.2 of the Plan. For the avoidance of doubt, and for purposes of this Notice,
personal injury tort, wrongful death, and/or related real property claims are not considered to be
an ordinary course occurrence and holders of such claims must file an Administrative Expense
Claim on or before the Administrative Expense Claims Bar Date. FAILURE TO FILE AND
SERVE PROOF OF AN ADMINISTRATIVE EXPENSE CLAIM TIMELY AND
PROPERLY AS SET FORTH IN THE PLAN, CONFIRMATION ORDER AND THIS
NOTICE SHALL RESULT IN SUCH CLAIM BEING FOREVER BARRED. IF FOR ANY
REASON ANY SUCH ADMINISTRATIVE EXPENSE CLAIM IS INCAPABLE OF
BEING FOREVER BARRED AND DISALLOWED, THEN THE HOLDER OF SUCH
CLAIM SHALL IN NO EVENT HAVE RECOURSE AGAINST THE DEBTORS, THE
LIQUIDATING TRUST, THE GUC TRUST, OR THE REORGANIZED DEBTORS OR
TO ANY PROPERTY TO BE DISTRIBUTED PURSUANT TO THE PLAN.

               PLEASE TAKE FURTHER NOTICE that, with respect to any Driver Claimant,
requests for payment of a Driver Claimant Admin Claim must also be filed with Bankruptcy Court
no later than May 17, 2021 (the “Driver Claimant Admin Claim Bar Date”).




                                   [Continued on Next Page]




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               PLEASE TAKE FURTHER NOTICE that the Plan and the provisions thereof
are binding on the Debtors, the Liquidating Trust, any holder of a Claim against, or Interest in, the
Debtors and such holder’s respective successors and assigns, whether or not the Claim or Interest
of such holder is impaired under the Plan and whether or not such holder voted to accept the Plan.

Dated: April 1, 2021
       Houston, Texas
                                                   /s/ Alfredo R. Pérez
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                                                 -and-

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